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                           UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE


UNITED STATES OF AMERICA,

                      Plaintiff,

vs.                                                               Cr. No. 19-20183-MSN

JEREMY QUINNTRELL PRUITT,

                      Defendant.


                                     NOTICE OF APPEAL

        Notice is hereby given that Jeremy Pruitt appeals to the United States Court of Appeals

for the Sixth Circuit from the ( X ) Judgment (   ) Order (   ) Other (specify)        entered

in this action on September 17, 2020    .




                                                   s/ ROBERT L. THOMAS
                                                   Assistant Federal Defender
                                                   200 Jefferson Avenue, Suite 200
                                                   Memphis, TN 38103
                                                   (901) 544-3895


Date:   September 30, 2020
